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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF LOUISIANA
                               ALEXANDRIA DIVISION

 SAMANTHA WILLIAMS,
     Plaintiff,
                                                DOCKET NO. 21-CV-00017-DCJ-JPM
 v.
                                                JUDGE DAVID C. JOSEPH
 D’ARGENT FRANCHISING, LLC,
 D’ARGENT CONSTRUCTION, LLC,
 D’ARGENT COMPANIES, LLC,
                                                MAGISTRATE JOSEPH H. L. PEREZ-
 JUSTIN GIALLONARDO, and
                                                MONTES
 STATE FARM FIRE & CASUALTY
 CO.
      Defendants.

         JOINT MOTION FOR VOLUNTARY DISMISSAL WITH PREJUDICE

       NOW INTO COURT, through undersigned counsel, comes Plaintiff Samantha Williams

and Defendants D’Argent Franchising, LLC, D’Argent Construction, LLC, D’Argent Companies,

LLC, Justin Giallonardo and State Farm Fire & Casualty Co., and upon advising that this matter

has been settled in full, move this Court to issue an Order dismissing Plaintiff’s claims against

Defendants, with prejudice, each party to bear its own costs.

       WHEREFORE, Plaintiff respectfully requests that this Honorable Court issue an Order

dismissing Plaintiff’s claims against Defendants with prejudice, each party to bear its own costs.

Dated March 3, 2022                               Respectfully submitted,


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 SAMANTHA WILLIAMS                     JUSTIN GIALLONARDO




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4884-9213-2879, v. 2
